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                                          No. 14-4522


                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT
                                   ____________________

                               UNITED STATES OF AMERICA,
                                              Plaintiff/Appellee,


                                               v.

                                     WILLIAM GAZAFI,
                                                 Defendant/Appellant.
                                    ____________________

                        On Appeal from the United States District Court
                        for the District of Maryland, Southern Division
                                (The Honorable Roger W. Titus)
                                    ____________________

                                    BRIEF OF APPELLANT
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                                          No. 14-4522
                                     ____________________

                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT
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                               UNITED STATES OF AMERICA,
                                              Plaintiff/Appellee,

                                                 v.

                                       WILLIAM GAZAFI,
                                                  Defendant/Appellant.
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                         On Appeal from the United States District Court
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                                 (The Honorable Roger W. Titus)
                                     ____________________

                                     BRIEF OF APPELLANT
                                     ____________________

                              JURISDICTIONAL STATEMENT

              The district court had jurisdiction over this federal criminal case pursuant to

        18 U.S.C.§ 3231. That court sentenced the defendant on June 23, 2014, and entered

        the judgment of conviction on July 1, 2014. (JA 170.) William Gazafi timely filed

        a notice of appeal on July 7, 2014. (JA 176.) This Court has jurisdiction over the

        appeal pursuant to 28 U.S.C. § 1291 and 18 U.S.C. § 3742.




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                                       ISSUES PRESENTED

              1.     Did the sentencing court impose a sentence that was procedurally

        unreasonable when it failed to address Mr. Gazafi’s non-frivolous arguments for a

        sentence of thirty years?

              2.     Did the sentencing court impose a sentence that was substantively

        unreasonable when it improperly balanced the sentencing factors under 18 U.S.C. §

        3553(a)?

                                    STATEMENT OF THE CASE

              William Gazafi was charged in a six-count indictment with sexual exploitation

        of a minor for purposes of producing child pornography, in violation of 18 U.S.C. §

        2251(a).   (JA 11-18.)       Each count carried a mandatory minimum term of

        imprisonment of fifteen years, and a statutory maximum punishment of thirty years.

        He pled guilty to all charges in the indictment. (JA 19.)

              A probation officer prepared a pre-sentence report that calculated Mr. Gazafi’s

        criminal history category as a category I and the offense level as 47, with an advisory

        sentencing range of life imprisonment. (JA 74-75, 190-92.) The district court noted

        that, because the statutory maximum sentence for each count is thirty years, the

        correct guidelines range for each count is 360 months. (JA 155.) Because there were

        six counts, however, the court also decided that “the functional equivalent of a life

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        sentenc es could be fashioned in this case.” (Id.)

              At sentencing, Mr. Gazafi agreed that the pre-sentence report accurately

        calculated his offense level and criminal history, although the parties disputed

        whether the offenses should be sentenced concurrently or consecutively. (JA 74.)

        Nevertheless, he asked the court to impose a sentence of thirty years incarceration.

        (JA 111.)

              In support of his contention that a term of incarceration of thirty years would

        have been sufficient but not greater than necessary to serve the purposes of

        sentencing, Mr. Gazafi presented substantial mitigating evidence. First, he argued

        that he displayed extraordinary acceptance of responsibility that distinguished him

        from others who committed similar offenses. (JA 113.) Second, he argued that his

        exceptional and highly decorated service in the United States Air Force bore

        consideration. (JA 115.) Third, he argued that a psychologist who had evaluated him

        determined that he was both amendable to and willing to engage in treatment to take

        proactive steps to minimize future risk of harm to the public. (JA 118-19.)

              In addition, relating to sentencing factors under 18 U.S.C. § 3553(a), Mr.

        Gazafi argued that a sentence higher than his requested sentence would not provide

        any incremental deterrence to either him as an individual or to the public at large. (JA

        112.) Second, he argued that a sentence of 100 years, as the government requested,

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        was disproportionate when compared to other offenders. (JA 113.) He explained that

        cases that the government used as points of comparison in fact were not comparable,

        whereas a list of cases from within the District of Maryland that involved similar

        offense conduct and more similarly situated defendants resulted in sentences ranging

        from 24 years to 55 years. (JA 113, 203.) Therefore, he argued, a sentence at or near

        the length that the government sought would create unwarranted sentencing

        disparities. Moreover, he argued, a sentence of 100 years was not necessary to

        protect the public, since he was already in his 40s. A sentence as the government

        requested, he asserted, would cost society a great deal of money without providing

        incremental benefits. (JA 201.)

              The district court made several comments about the sentencing factors under

        18 U.S.C. § 3553 before imposing sentence. The court stated that it is a rare case

        where the offense level exceeds a level 43. “And so that certainly tells me that the

        sentencing guidelines view this as a very significant offense, worthy of significant

        punishment.” (JA 156.) The court discussed at length the nature and circumstances

        of the offense (JA 157-60), and mentioned that the nature of the offense had been

        “graphically described”1 by the government in its sentencing pleading and argument.

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                 The court explained the information that he used to come to its understanding
        of the nature and circumstances of the offense as well as the nature and circumstances
        of the defendant: the pre-sentence report, the two sentencing memos submitted by the

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        (JA 158.) The court described the offense as “depraved” and “heinous” and “one of

        the most serious offense of this nature that I’ve ever seen.” (JA 158-60.)

              Ultimately, the court imposed a total term of incarceration of 120 years. The

        court sentenced Mr. Gazafi to 360 months on each of the six counts with the

        sentences on counts one through four running consecutively to each other, and the

        sentences on counts five and six to run concurrently with the other counts. (JA 165.)

        Without any request by the government, the court ignored the defense request for a

        recommendation to the Bureau of Prisons that Mr. Gazafi serve his sentence in a

        facility close to his parents’ home, and instead recommended that he serve his

        sentence at the super max facility at USP Florence, even though Mr. Gazafi had no

        criminal history whatsoever and no history of prison management problems. Mr.

        Gazafi now appeals his sentence.

                                     SUMMARY OF ARGUMENT

              The sentence here was both procedurally and substantively unreasonable. The

        district court committed procedural error in this case by failing to satisfy its statutory

        obligations under 18 U.S.C. § 3553(c)(1) to provide sufficient explanation for why

        sentencing Mr. Gazafi to a term of 120 years, as opposed to a shorter term, was

        incrementally necessary to achieve the goals of sentencing. In addition, the court


        parties, the defendant’s statement, the victim’s statements. (JA 75-76, 135.)

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        improperly weighed the sentencing factors under 18 U.S.C. § 3553(a). The 120-year

        sentence was not based on Mr. Gazafi’s individual characteristics. The sentencing

        court failed to provide an individualized sentencing. The sentencing court abused its

        discretion in concluding that a sentence that severe was sufficient but not greater than

        necessary to achieve deterrence and protection of the public. In addition, it created

        unwarranted sentencing disparities.

                                    STANDARD OF REVIEW

              This Court reviews sentences imposed in federal criminal cases for

        reasonableness. United States v. Johnson, 445 F.3d 339, 341 (4th Cir. 2006); United

        States v. Green, 436 F.3d 449, 456 (4th Cir. 2006); see Rita v. United States, 551 U.S.

        338 (2007). The reasonableness inquiry, which seeks to determine whether a district

        court abused its discretion, is the same regardless of whether the sentence imposed

        was within or outside the recommended guideline range. Gall v. United States, 552

        U.S. 38, 51 (2007); United States v. Pauley, 511 F.3d 468, 473 (4th Cir. 2007).

              To determine whether a sentence is substantively reasonable, courts of appeal

        must examine the totality of the circumstances and ask whether the sentencing court

        abused its discretion in applying the factors in 18 U.S.C. § 3553(a). See United States

        v. Mendoza-Mendoza, 597 F.3d 212, 216 (4th Cir. 2010). See also Gall, 552 U.S. at

        51.

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                                           ARGUMENT

        I.    THE DISTRICT COURT COMMITTED PROCEDURAL ERROR
              UNDER 18 U.S.C. § 3553(c)(1) – IN VIOLATION OF RITA v.
              UNITED STATES AND GALL v. UNITED STATES – BY FAILING TO
              EXPLAIN THE NEED FOR THE 120-YEAR SENTENCE, AS
              OPPOSED TO A SHORTER TERM OF INCARCERATION

              This Court’s first task in reviewing Mr. Gazafi’s sentence is to “ensure that the

        district court committed no significant procedural error, such as failing to calculate

        (or improperly calculating) the Guidelines range, treating the Guidelines as

        mandatory, failing to consider the § 3553(a) factors, selecting a sentence based on

        clearly erroneous facts, or failing to adequately explain the chosen sentence –

        including an explanation for any deviation from the Guidelines range.” Gall, 552

        U.S. at 51 (emphasis supplied); 18 U.S.C. § 3553 (c)(1) (requiring a district court to

        state the reasons for imposing a particular punishment). In Rita v. United States, the

        Supreme Court described the importance of this procedural step, explaining that

        “[t]he sentencing judge should set forth enough to satisfy the appellate court that he

        has considered the parties’ arguments and has a reasoned basis for exercising his own

        legal decisionmaking authority.” Rita, 551 U.S. at 356; Gall, 552 U.S. at 50 (stating

        that district courts “must adequately explain the chosen sentence to allow for

        meaningful appellate review and to promote the perception of fair sentencing”).

              This Court re-emphasized the importance of a district courts’ duty to provide

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        an adequate statement of reasons for its sentencing determinations in United States

        v. Montes-Pineda, 445 F.3d 375 (4th Cir. 2006). “District courts are obligated to

        explain their sentences, whether those sentences are within or beyond the Guidelines

        range.” Id. at 380. While a district court need not “robotically tick through” each of

        the § 3553(a) factors, the “explanation must be elaborate enough to allow an appellate

        court to effectively review the reasonableness of the sentence.’” Id. In particular, the

        explanation for the sentence must demonstrate that the court fulfilled two tasks: first,

        that it considered the § 3553(a) factors with respect to the particular defendant; and,

        second, that it considered any potentially meritorious argument raised by the parties

        at sentencing. Id.; see also United States v. Moreland, 437 F.3d 424, 434 (4th Cir.

        2006) (“A sentence may be procedurally unreasonable, for example, if the district

        court provides an inadequate statement of reasons or fails to make a necessary factual

        finding.”) (citations omitted); Green, 436 F.3d at 455 (stating that under § 3553(c),

        district courts must “in every case give the reasons for the sentence imposed”).

              In Mr. Gazafi’s case, the district court heard comprehensive arguments from

        defense counsel about why a 30-year term would be sufficient, but not greater than

        necessary, to satisfy the sentencing goals identified in 18 U.S.C. § 3553. See JA 197-

        204. Acknowledging the seriousness of the offense, counsel also explained that Mr.

        Gazafi was willing to engage in and amenable to treatment to reduce the future risk

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        of harm to the public. He also explained that, given his current age, even with a term

        of thirty years, he would be released at an age where he is unlikely to re-offend.

              At the conclusion of counsel’s arguments, the district court focused on an

        opinion from this Court where a sentence of 120 years was affirmed. JA 157

        (referring to United States v. Cobler, 748 F.3d 570 (4th Cir. 2014)). The court’s focus

        was on a different defendant, rather than on Mr. Gazafi himself. The court therefore

        failed to tailor the sentence to Mr. Gazafi’s personal characteristics, instead using an

        unrelated case as the lodestone of sentencing here. Moreover, the court never

        explained why the additional ninety years reflected in its given sentence were

        necessary to achieve the purposes of sentencing, while the 30-year sentence that Mr.

        Gazafi requested was somehow inadequate.

              The plain inadequacy of the district court’s statement is aptly illustrated by a

        comparison to three cases – United States v. Cunningham, in which the district

        court’s statement was found to be insufficient; and Rita v. United States and United

        States v. Montes-Pineda, two cases in which the district courts’ statements were

        deemed barely sufficient under § 3553(c)(1).

              In United States v. Cunningham, 429 F.3d 673 (7th Cir. 2005), the defendant

        had argued for a below-guideline sentence based on his diminished mental capacity.

        The district court dismissed the arguments and imposed a sentence at the low end of

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        the recommended guideline range. On appeal, the Seventh Circuit vacated and

        remanded, holding that the district court’s failure to explain the sentence was

        insufficient as a matter of law. The court explained:

                    A rote statement that the judge considered all relevant
                    factors will not always suffice; the temptation to a busy
                    judge to impose the guideline sentence and be done with it,
                    without wading into the vague and prolix statutory factors,
                    cannot be ignored. . . .

                    We cannot have much confidence in the judge’s considered
                    attention to the factors in this case, when he passed over in
                    silence the principal argument made by the defendant even
                    though the argument was not so weak as not to merit
                    discussion, as it would have been if anyone acquainted
                    with the facts would have known without being told why
                    the judge had not accepted the argument. Diminished
                    mental capacity is a ground stated in the sentencing
                    guidelines themselves for a lower sentence. U.S.S.G.
                    § 5K2.13. A judge who fails to mention a ground of
                    recognized legal merit (provided it has a factual basis) is
                    likely to have committed an error or oversight.

        429 F.3d at 679 (emphasis supplied).

              In Rita, by contrast, the district court satisfied its duty under § 3553(c)(1)

        where it questioned the defense about his request for a departure versus a variance,

        summarized counsel’s arguments, inquired about each of the proffered bases for a

        lower sentence, and then determined to impose a sentence at the low end of the

        guideline range. 551 U.S. at 345. On appeal, the Supreme Court held that the court’s


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        statements were “brief but legally sufficient,” adding that “the judge might have said

        more.” Id. at 358.

              As in Rita, the district court in Montes-Pineda satisfied its duty under

        § 3553(c)(1) because it “entertained arguments from both sides on whether to grant

        [the defendant’s] request and engaged counsel in a discussion about the disparities

        between ‘fast-track’ and non-‘fast track’ districts.” 445 F.3d at 381. Even though the

        court ultimately denied the defense’s request for a variant sentence in favor of a low-

        end guideline sentence, this Court found “no basis for doubting that the district court

        considered [the defendant’s] contentions.” Id. at 377, 381. Comparing that case to

        Cunningham, the Court commented that it “[was] not a case where the district court

        passively heard the parties’ arguments and then seemed to ignore them.” Id. at 381.

              In Mr. Gazafi’s case – like Cunningham, but unlike either Rita or Montes-

        Pineda – there is abundant reason to “doubt[] that the district court considered

        [Mr. Gazafi’s] contentions.” Montes-Pineda, 445 F.3d at 381. The court may have

        listened to Mr. Gazafi’s arguments as to why, even considering the aggravating

        factors that the government identified, a lengthy term of thirty years incarceration

        would be sufficient to protect the public or deter crime, but the court failed to explain

        the flaws in those arguments.

              For these reasons, the district court’s sentencing of Mr. Gazafi was

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        procedurally unreasonable, in violation of 18 U.S.C. § 3553(c)(1) as well as Rita and

        Gall. See United States v. Hughes, 401 F.3d 540, 556 n.14 (4th Cir. 2005); United

        States v. Williams, 438 F.3d 1272, 1274 (11th Cir. 2006). This Court should vacate

        the sentence and remand Mr. Gazafi’s case to the district court for a new sentencing

        hearing.

        II.   THE 120-YEAR            SENTENCE         WAS      SUBSTANTIVELY
              UNREASONABLE

              The 120-year sentence was greater than necessary to achieve the purposes of

        sentencing. It was therefore substantively unreasonable.

              “The hideous nature of an offender’s conduct must not drive us to forget that

        it is not severe punishment that promotes respect for the law, it is appropriate

        punishment.” United States v. Olhovksy, 562 F.3d 530, 551 (3rd Cir. 2009) (emphasis

        in original). The nature of the offense was clearly the district court’s focus in

        sentencing Mr. Gazafi in this case, as was apparent from the court’s statements at

        sentencing. (JA 158-64.) Among other things, the court said that the offense was

        “bizarre and hideous” (JA 162), made him “shiver” (JA 163), and was “absolutely

        horrific” (JA 161) . This focus, however, led to an improper weighing of § 3553(a)

        factors.

              The district court’s emotional response to Mr. Gazafi’s conduct resulted in the


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        district court “sentenc[ing] the offense at the expense of determining an appropriate

        sentence for the offender.” Olhovksy, 562 F.3d at 550. A even-handed consideration

        of key facts about Mr. Gazafi’s history and other sentences for similar conduct reveals

        that a sentence of 120 thirty years is not substantively reasonable, despite the

        disturbing facts of this offense.

              Section 3553 requires a sentence that is “sufficient but not greater than

        necessary” in every case. A sentence of 120 years for a first offender in his 40s, not

        convicted of a homicide offense, is greater than necessary. The statute of conviction

        does not contemplate a life sentence, and the Sentencing Guidelines should not trump

        the actual statute of conviction.

              The district court abused its discretion in concluding that a sentence of 120

        years was necessary to protect the public, deter Mr. Gazafi, and deter others from

        committing similar offenses. But a sentence that long does not in fact serve any

        incremental deterrent goal. In United States v. Craig, 703 F.3d 1001 (7th Cir.2012),

        Judge Posner in a concurrence expressed concern that sentencing judges consider the

        wisdom of imposing de facto life sentences. See also, United States v. Major, 676

        F.3d 803, 813 (9th Cir. 2012) (dissenting opinion criticizes 750-year sentence as

        “impossible to execute” and arguing that the courts should not participate in a

        sentence that is “an empty gesture.”).

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              Judge Posner asks district judges to consider “the cost of imprisonment of

        elderly prisoners, the likelihood of recidivism by them, and the modest incremental

        deterrent effect of substituting a superlong sentence for a merely very long sentence.”

        Id. at 1004. Judge Posner notes that the average expense of maintaining a federal

        prisoner for a year is between $25,000 and $30,000; an elderly prisoner may cost

        more than twice this amount to maintain. Id at 1003. Judge Posner compares this

        societal cost with potential benefits of deterrence and incapacitation. He questions

        the incremental deterrent effect. At least one District Court, in a published opinion,

        has recognized research supporting the conclusion that the risk of sexual recidivism

        declines with age. United States v. Wilkinson, 646 F. Supp. 2d 194 (D. Mass. 2009)

        (“even for child molesters released after age sixty, the recidivism rate is very low

        (3.8%)), citing R. Karl Hanson, Recidivism and Age: Follow-Up Data From 4,673

        Sexual Offenders, 17 J. Interpersonal Violence 1046, 1059 (2002).

              The logic of Judge Posner’s opinion supports the conclusion that there comes

        a point, in terms of an individual defendant’s age, where the purposes of punishment

        are no longer served by continued incarceration. There is no benefit, only a cost to

        society. There is simply no incremental deterrent value or materially greater

        protection of the public from a sentence of 120 years here. See Valerie Wright,

        Deterrence in Criminal Justice: Evaluating Certainty vs. Severity of Punishment, THE

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        SENTENCING PROJECT (Nov. 2010)2 at 6-7 (describing numerous studies that conclude

        that longer sentences do not increase deterrence, either for an individual or for the

        broader community).

              The district court used this Court’s decision in United States v. Cobler, 748

        F.3d 570 (4th Cir. 2014), as an imprimatur for imposing a sentence of 120 years. (JA

        157.) The court thus failed to provide Mr. Gazafi with an individualized sentencing.

              In Koon v. United States, 518 U.S. 81 ( 1991), the Supreme Court emphasized

        that although Congress created the Sentencing Guidelines to bring uniformity to

        federal sentencing, Congress had no intention of straying from the long recognized

        tradition of individualized sentencing.

              It has been uniform and constant in the federal judicial tradition for the
              sentencing judge to consider every convicted person as an individual
              and every case as a unique study in the human failings that sometimes
              mitigate, sometimes magnify, the crime and punishment to ensue. Koon,
              518 U.S.81, 113 (1991); United States v. Rhodes, 145 F.3d 1375, 1381
              (D.C. Cir. 1998)(“Congress ... directed the Sentencing Commission to
              maintain ‘sufficient flexibility to permit individualized sentences.”)
              (citing 28 U.S.C. 991(b)(1)(B)).

              Although Koon was decided before the Supreme Court’s decision in United

        States v. Booker, 543 U.S. 220 (2005), Booker did not change the requirement of

        individualized sentencing. In fact, Booker places even greater emphasis on


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                  http://www.sentencing project.org/doc/Deterrence%20Briefing%20.pdf.

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        “individualized sentencing” by forcing the sentencing court to look to the specific

        individual circumstances fo a defendant under §3553(a). Booker, 543 U.S. at 224.

        Indeed, in United States v. Eura, 440 F.3d 625, 634 (4th Cir. 2006), a post-Booker

        case, this Circuit emphasized that a “sentencing court must identify the individual

        aspects of a defendant’s case that fit within the factors listed in 18 U.S.C. §3553(a)

        (overruled on other grounds by United States v. Kimbrough, 552 U.S. 85 (2007)). See

        also United States v. Williams, 456 F.3d 1353, 1369 (11th Cir. 2006) (a post-Booker

        sentence is reasonable “so long as it reflect the individualized case-specific factors

        of §3553(a)”) (overruled on other grounds by United States v. Kimbrough, 552 U.S.

        85 (2007)).

              When the district court tied its sentencing decision here so closely to an

        unrelated defendant, it failed to appropriately weigh Mr. Gazafi’s personal

        characteristics. Instead, the court sentenced him as if he had repeatedly raped a little

        boy and knowingly exposed that boy to a serious communicable disease. See Cobler,

        748 F.3d at 574.

              Unlike many offenders in the federal system, Mr. Gazafi enjoys a strong

        support system from within his family. See JA 207-11. His extended family has

        continued to support him in the face of the circumstances of this offense. See id.

        Considering his current age, his family support, the conditions or supervised release,

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        and the length of any term of incarceration in this case, Mr. Gazafi is unlikely to be

        a danger to society when released. Moreover, Mr. Gazafi demonstrated that he is

        willing to engage in the treatment programs designed to minimize future danger. (JA

        252.) More important, a psychologist who is an expert in sex offender treatment

        concluded that Mr. Gazafi is amendable to treatment. (Id.) Thus, considering the

        totality of the circumstances, the sentencing court abused its discretion when finding

        that the 120-year sentence was not longer than necessary under Section 3553(a). See

        Mendoza-Mendoza, 597 F.3d at 216.

              The district court’s emotional response, while understandable, does not lead

        to a substantively reasonable sentence. Instead, it produced a severe, yet still

        inappropriate sentence. And pure severity does not advance the goals of deterrence

        and protection of the public.

              Finally, the district court abused its discretion by imposing a sentence that

        created an unwarranted sentencing disparity. The court incorrectly weighed Mr.

        Gazafi’s conduct as compared to other cases involving the production of child

        pornography. To the best of counsel’s knowledge, this case represents the longest

        sentence imposed in the District of Maryland after a guilty plea to charges of the

        production of child pornography. And while the court’s comment that this case was

        “the worst,” that does not automatically justify a sentence so disparately longer than

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        sentences impose in other – also egregious – cases. Not only is it the longest, but it

        is 65 years longer than and more than double the next longest sentence imposed in the

        district. It is about four times longer than the typical sentence imposed after a guilty

        plea to producing child pornography for first offenders. The following cases present

        the most recent points of comparison.

              •      In United States v. Smallwood, 525 Fed. Appx. 239 (4th Cir. 2013), the

                     court imposed a sentence of 55 years. That case involved a school bus

                     driver who molested at least four victims and produced multiple videos.

                     The defendant was 30 years old at the time of sentencing, and the

                     sentencing court stated that the sentence did leave open the possibility

                     of the defendant being released.

              •      In United States v. Leo Evans, Case No.1:11-cr-577-ELH, the court

                     imposed a sentence of 292 months, or slightly more than 24 years. The

                     defendant was charged with three counts of producing child

                     pornography involving four victims. The statement of facts in the plea

                     agreement refers to three prior investigations regarding the sexual abuse

                     of three other children.

              •      In United States v. Larry Kerfoot, Case No. 1:12-cr-571-ELH, the court

                     imposed a sentence of 28 years, after the defendant had entered a plea

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                     pursuant to Fed. R. Crim. P. 11(c)(1)(C) to production of child

                     pornography that included an agreed-upon sentencing range of 25 to

                     thirty years. The plea agreement indicates that the defendant repeatedly

                     engaged in multiple different types of sex acts with a pre-pubescent girl

                     over the course of several years.

              •      In United States v. Robert Mazola, Case No. 1:12-cr-607-ELH, the

                     defendant pleaded guilty to production of child pornography and was

                     sentenced to 29 years’ imprisonment. The statement of facts details

                     repeated sexual abuse of a minor that continued over the course of a

                     year.

              The only other comparable sentence from the District of Maryland came from

        a materially different case. The court imposed a life sentence for production of child

        pornography in United States v. Reigle, 228 Fed. Appx. 353 (4th Cir. 2007). Most

        importantly, however, the defendant in that case was subject to a mandatory life

        sentence under 18 U.S.C. § 3559(e) because he was a repeat sex offender against

        children. See United States v. Reigle, Docket Entry 19, Information Pursuant to 18

        U.S.C. § 3559(e), Case No. 1:05-cr-262-MJG (D. Md.). In contrast, of course, Mr.

        Gazafi had no prior conviction to trigger a life sentence, had a criminal history

        category of I, and faced a statutory maximum on each count of thirty years rather than

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        life imprisonment, let alone mandatory life imprisonment.

                 Reigle also differs from this case because the life sentence was imposed after

        a jury trial, rather than a guilty plea. Here, Mr. Gazafi admitted the conduct, accepted

        responsibility, and prevented further agony for the children from the need at a trial

        to publicly detail what had happened to them, let alone the agony of having the

        images viewed by the jurors, court personnel, and anyone else in a public court room.

                 Finally, the conduct in Reigle was also dramatically different. The conduct

        appeared to involve the anal rape of a little boy and the molestation of multiple other

        victims. Reigle, 228 Fed. Appx. at 356. In addition, it involved a conspiracy with

        another adult male, and some of the acts in furtherance of the conspiracy occurred at

        the defendant’s direction while he was incarcerated in a federal prison for a different

        child pornography conviction. Id. In contrast, the facts in Mr. Gazafi’s, which

        undeniably call for a significant sentence, do not involve allegations of rape and

        certainly do not include conspiracies with other adults orchestrated from inside prison

        walls.

                 The district court failed to adequately weigh the sentencing disparity that the

        120 sentence here caused. Equating this case to Reigle is an abuse of discretion. And

        no apparent explanation exists as to why the sentence here needed to more than

        double the next highest sentence resulting from a plea to production of child

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        pornography that also involved multiple victims. Even if this case is worse than the

        other District of Maryland cases that resulted substantial sentences for production of

        child pornography after a guilty plea, is it four times worse? The ninety additional

        years imposed in this case as compared to the other cases discussed above resulted

        from an incorrect weighing of the sentencing factors identified in 18 U.S.C. §

        3553(a).

                                          CONCLUSION

              For the foregoing reasons, William Gazafi respectfully requests that this Court

        vacate his sentence and remand his case for further proceedings.

              Respectfully submitted this 9th day of October, 2014.

                                                      JAMES WYDA
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                            REQUEST FOR ORAL ARGUMENT

              Counsel for Appellant respectfully requests oral argument in this case so that

        the issues presented herein may be more fully developed.




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                              CERTIFICATE OF COMPLIANCE

        1.    This Brief of Appellant has been prepared using WordPerfect X4 software,
              Times New Roman font, 14 point proportional type size.

        2.    Exclusive of the table of contents, table of authorities, statement with respect
              to oral argument, and certificate of service, this brief contains 4,563 words.


        I understand that a material misrepresentation can result in this Court’s striking the
        brief and imposing sanctions. If the Court so requests, I will provide a copy of the
        word or line print-out.


           10/9/14                           /s/
        Date                             Meghan Skelton
                                         Appellate Attorney




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                                    CERTIFICATE OF SERVICE

               This is to certify that the foregoing Brief of Appellant was filed electronically
        via CM/ECF, and a hard copy of the Brief of Appellant and Joint Appendix were sent
        via inter-office mail to:

                     Thomas Sullivan
                     Assistant U.S. Attorney
                     Office of the U.S. Attorney
                     6500 Cherrywood Lane, Suite 200
                     Greenbelt, MD 20770

        on this 9th day of October, 2014.


                                                          /s/
                                                       Meghan Skelton
                                                       Appellate Attorney
